        Case 1:20-cv-03265-MHC Document 41 Filed 06/15/21 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 PAUL ZWIER,                            :
                                        :
       Plaintiff,                       :
                                        :
  v.                                    :           Civil Action File No.
                                        :
 EMORY UNIVERSITY and                   :        1:20-cv-03265-MHC-RDC
 JAMES B. HUGHES, JR.,                  :
                                        :
       Defendants.                      :

             STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

Plaintiff Paul Zwier and Defendants Emory University and James B. Hughes, Jr., by

and through their undersigned counsel of record, hereby stipulate and agree to the

dismissal with prejudice of all claims in the above captioned action. All parties agree

to pay their own costs and fees associated with this dismissal.

       Respectfully submitted: June 15, 2021.

 /s/ M. Travis Foust                             /s/ Michael W. Johnston
 A. Lee Parks                                    Michael W. Johnston
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 PARKS, CHESIN & WALBERT, P.C.                   KING & SPALDING LLP
       Case 1:20-cv-03265-MHC Document 41 Filed 06/15/21 Page 2 of 3




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PAUL ZWIER,                            :
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JAMES B. HUGHES, JR.,                  :
                                       :
       Defendants.                     :

                         CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2021 I filed the within and foregoing

STIPULATION OF DISMISSAL WITH PREJUDICE with the Clerk of Court

using the CM/ECF system, which will automatically send notification of such filing

via e-mail to the following counsel of record:

A. Lee Parks
M. Travis Foust
PARKS, CHESIN & WALBERT, P.C.
75 14th Street, N.E., 26th Floor
Atlanta, Georgia 30309

                                       /s/ Michael W. Johnston
                                       Michael W. Johnston
                                       Georgia Bar No. 396720




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